Case 6:21-cv-02517-RRS-CBW Document 39 Filed 10/03/22 Page 1 of 2 PageID #: 462




                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF LOUISIANA
                              LAFAYETTE DIVISION

 STERLING RESOURCES CORP, ET AL. CIVIL ACTION NO. 21-cv-2517

VERSUS JUDGE SUMMERHAYS

 WELFONT GROUP, LLC, ET AL. MAGISTRATE JUDGE
                               WHITEHURST


                                    JUDGMENT

       For the reasons assigned in the Report and Recommendation of the Magistrate

 Judge previously filed herein^ and having thoroughly reviewed the record, including

 the lack of written objections filed, and concurring with the findings of the

 Magistrate Judge under the applicable law;

       IT IS ORDERED that the Rule 12(b)(6) Motion of the Welfont Group, LLC

 ("Welfont") to Dismiss Plaintiff Leblanc's Complaint m Full and to Dismiss Certain

 Claims of Plaintiff Sterling as Time-Barred and for Failure to State a Claim" [Doc.

 27] is GRANTED IN PART AM) DENIED IN PART, as follows:

       IT IS ORDERED that the motion to dismiss is GRANTED with respect to

 Leblanc's claims for injury to the corporation itself, including damages for the

 disparity in Sterling's sell price and the fair market value, interest or judicial interest,

 and the attorneys' fees incurred by Sterling, such claims are foreclosed.
Case 6:21-cv-02517-RRS-CBW Document 39 Filed 10/03/22 Page 2 of 2 PageID #: 463




       IT IS FURTHER ORDERED that the motion to dismiss is DENIED with

 respect to Leblanc's claims for any additional tax, penalties, and interest assessed


 against him individually by the IRS.

       IT IS FURTHER ORDERED that the motion to dismiss the plaintiffs'

 LUTPA claims on grounds they are time-barred is DENIED.

       IT IS FURTHER ORDERED that the motion to dismiss the plaintiffs' claims

 for treble damages and attorneys9 fees under LUTPA is DENIED at this time.

       IT IS FURTHER ORDERED that the motion to dismiss the plaintiffs' tort-

 based claims on grounds they are time-barred is DENIED.


       IT IS FURTHER ORDERED that the motion to dismiss the plaintiffs' claims

 arising under Article 2315 for violation of the duties set forth in La. Rev. Stat

 3 7:1455 is DENIED.

       THUS DONE AND SIGNED at Lafayette, Louisiana, this the 3rd day of

 October, 2022.



                                         UNITED STATES DISTRICT
